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Morrell, Benjamin S.

From:                            Morrell, Benjamin S.
Sent:                            Friday, May 19, 2023 6:12 PM
To:                              Megan O'Malley; Alex Raynor
Cc:                              Fisher, Ian H.
Subject:                         Lynch v. CCC - amended privilege log
Attachments:                     CCC's Amended ESI Privilege Log.pdf



Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


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